                  Case 6:20-bk-01801-KSJ            Doc 36      Filed 05/29/20       Page 1 of 1

[jiffyord] [Bench Order +]




                                                 ORDERED.
           Dated: May 27, 2020




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                    Case No. 6:20−bk−01801−KSJ
                                                                          Chapter 11
Must Cure Obesity, Co.



________Debtor*________/


                    ORDER GRANTING MOTION TO DISMISS OR CONVERT CASE

            THIS CASE came on for hearing on May 27, 2020 , for consideration of the Motion to
         Dismiss or Convert Case (Doc. 32 ), filed by Debtor Must Cure Obesity, Co. .

           For the reasons stated orally and recorded in open court, the Motion to Dismiss or Convert
         Case is Granted .

            The Court finds it is in the best interest of creditors to convert this case to Chapter 7. The
         Clerk is directed to convert this case to Chapter 7 and to inquire with the Office of the United
         States Trustee whether they would like to specially select a Chapter 7 Trustee.

             The Court in its discretion may file written findings of facts and conclusions of law at a
         later date.

            Service Instructions:

            Attorney Amber Robinson is directed to serve a copy of this order on interested
         non−CM/ECF users and file a proof of service within three (3) days of entry of the order.

         *All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly
         by two individuals.
